Case 1:21-cv-03354-BAH Document 101-6 Filed 09/29/23 Page 1 of 8




            EXHIBIT 5
           Case 1:21-cv-03354-BAH Document 101-6 Filed 09/29/23 Page 2 of 8



Giuliani struggling under massive legal bills after
defending Trump
   cnn.com/2023/08/15/politics/giuliani-money-lawsuits-trump/index.html

Katelyn Polantz, Tierney Sneed, Jeremy Herb                                       August 16, 2023




CNN
Rudy Giuliani is staring down hundreds of thousands of dollars in legal bills and sanctions
amid numerous lawsuits in addition to the new criminal charges – related to his work for
Donald Trump after the 2020 election.

In court on Monday, the former New York City mayor said the legal quagmires have left him
effectively out of cash. He even appears to have responded to some of the money crunch by
listing for sale a 3-bedroom Manhattan apartment he owns for $6.5 million.

Not including standard legal fees, Giuliani faces nearly $90,000 in sanctions from a judge in
a defamation case, a $20,000 monthly fee to a company to host his electronic records,
$15,000 or more for a search of his records, and even a $57,000 judgment against his
company for unpaid phone bills.

“These are a lot of bills that he’s not paying,” Giuliani attorney Adam Katz told a New York
state court on Wednesday. “I think this is very humbling for Mr. Giuliani.”




                                                                                                    1/7
          Case 1:21-cv-03354-BAH Document 101-6 Filed 09/29/23 Page 3 of 8

While the former mayor has declined in court to provide details of his financial state, his
lawyers wrote this week that “producing a detailed financial report is only meant to
embarrass Mr. Giuliani and draw attention to his misfortunes.”

Giuliani’s financial situation is likely to become even more difficult to navigate in the coming
days. He faces potentially perilous court decisions against him in two 2020 election
defamation lawsuits.

While Giuliani’s attorneys’ fees have not been paid directly by Trump’s political action
committee, Trump’s PAC paid more than $300,000 in May to a company handling Giuliani’s
archived records for evidence preservation in court cases, according to federal campaign
finance records and court filings.

“He is having financial difficulties,” Giuliani’s lawyers said in a filing this month in a civil
defamation case brought by two Georgia election workers against him. “Giuliani needs more
time to pay the attorneys’ fees and would like the opportunity to seek an extension from the
Court.”

On Wednesday, Katz argued Giuliani did not have the funds to pay for producing records in a
lawsuit brought by voting technology company Smartmatic, adding that the “third-party
source” that paid for his earlier bill was “not willing to give any additional money.”

Giuliani is facing disbarment proceedings in DC and New York. His law license is already
suspended – a situation his attorneys say leaves him further hampered from making money.
And he is facing a personal lawsuit from an ex-employee filed in May, which he is contesting.

The criminal charges that Fulton County District Attorney Fani Willis brought against Trump,
Giuliani and 17 others will undoubtedly add to the former mayor’s legal bills.




                                                                                                   2/7
         Case 1:21-cv-03354-BAH Document 101-6 Filed 09/29/23 Page 4 of 8




The indictment in Georgia against former President Donald Trump is photographed Monday,
Aug. 14, 2023.

Rebecca Wright/CNN
Takeaways from the Georgia indictment of Donald Trump and 18 others

That prosecution is separate from the federal election subversion investigation that looms
over Giuliani. He is “Co-conspirator 1” in special counsel Jack Smith’s indictment of Trump
related to efforts to overturn the 2020 election. While he has not been indicted, prosecutors
continue to investigate, including speaking with Giuliani’s ally, Bernie Kerik, about what
Giuliani did to prove that Trump actually won the election, among other things, Kerik’s
attorney told CNN.

Robert Costello, a lawyer for Giuliani, declined to comment for this story.

Following his indictment in Georgia, Giuliani’s political aide Ted Goodman released a
statement calling the case “an affront to American Democracy.”


Owed $320,000 for records searches after phone was seized
While all of the legal peril Giuliani now faces revolves around his work for Trump questioning
the election’s result, a primary consequence he’d faced prior to Monday’s criminal indictment
in Georgia had come from his inability to respond fully to 2020 election-related lawsuits.




                                                                                                 3/7
         Case 1:21-cv-03354-BAH Document 101-6 Filed 09/29/23 Page 5 of 8

When the FBI seized several of his cell phones in April 2021 in a now-closed investigation,
much of Giuliani’s electronic records were held on a database operated by a company called
Trustpoint.One. But they were archived, and running searches on files the company held for
more recent litigation isn’t cheap. Even hosting his records with the company costs $20,000
a month, according to a recent court filing.

Giuliani wanted to search the records so he could respond in each of the election-related
lawsuits, according to court filings.

By May, Giuliani was more than $320,000 behind in payments to the document hosting
company, according to a sworn statement he made in court. “I do not have the funds to pay
this amount at this time,” he wrote.




exp Giuliani debt Polantz LOK 081604ASEG1 CNNI U.S._00005505.png

video

Giuliani struggling under massive legal bills

He negotiated for a year with what his lawyers say were “third-party funding sources” for help
in paying his legal bills, and awaited funding for six months for help with the Trustpoint bill,
according to Giuliani’s filing this week in the Smartmatic case.

Trump’s former attorney appears to have had some reprieve from the debts in May, plus an
additional $20,000 cover for additional data searches, according to court filings, thanks to the
former president’s political action committee. The PAC is not paying Giluiani’s legal fees –


                                                                                                   4/7
          Case 1:21-cv-03354-BAH Document 101-6 Filed 09/29/23 Page 6 of 8

unlike many other Trump allies – but it has paid more than $400,000 to Trustpoint this year,
with an unusually large sum going to the company in late May for $340,000, according to
federal campaign filings.

Days after that distribution, Giuliani said in one of the lawsuits he faces that he “obtained
funding to pay the arrearage” and “cured” his outstanding bill with Trustpoint. He also
discussed receiving that “donation” in his latest court filing, saying he thought it would help
cover for the response he needed to make in the Smartmatic case.

But the $340,000 payment isn’t enough to cover more searches, Trustpoint “will not extend
any further credit” to him, and his bill to keep his data held by the company will keep growing
by the month, his court filings say.

“This is not merely an excuse that Giuliani trudges out when required to produce
documents,” his latest filing said.

Trustpoint executives didn’t respond to requests for comment.

Defamation lawsuits piling up




WASHINGTON, DC - SEPTEMBER 27: Former New York Mayor Rudy Giuliani speaks
during a news conference held by U.S. President Donald Trump in the Briefing Room of the
White House on September 27, 2020 in Washington, DC. Trump is preparing for the first
presidential debate with former Vice President and Democratic Nominee Joe Biden on
September 29th in Cleveland, Ohio. (Photo by Joshua Roberts/Getty Images)


                                                                                                  5/7
          Case 1:21-cv-03354-BAH Document 101-6 Filed 09/29/23 Page 7 of 8

Joshua Roberts/Getty Images
video

CNN reporter reacts to Giuliani's 'unusual' late night court filing

Giuliani is the defendant in several defamation lawsuits for his statements after the 2020
election.

A federal judge in Washington ordered him to pay a portion of the legal bills of Georgia
election workers Shaye Moss and Ruby Freeman to cover what they had spent on attorneys
litigating evidence-gathering disputes in the case, by July 25. He still hasn’t paid that
$89,000, according to court records.

Two weeks later, Giuliani backed down from contesting Moss and Freeman’s claims that he
made false statements about them in 2020, saying he wanted to “avoid unnecessary
expenses in litigating.”

Moss and Freeman are still trying to win the lawsuit, and a judge is considering ruling
ultimately in their favor. But in the meantime, they have asked the judge to order Giuliani to
pay another $44,000 of their legal fees stemming from their efforts to force him to hand over
certain evidence in the case.

That’s only one lawsuit. Smartmatic, in its defamation case against Fox News and others,
including Giuliani, which prompted his growing data-hosting bill, asked a judge to sanction
Giuliani – including by ordering him to reimburse the company’s legal fees – for failing to
provide the company his records.

On Wednesday, the New York state judge in that case gave Giuliani two weeks to find the
money needed to produce the records to Smartmatic. If he fails to do so, the judge said
Giuliani would be forced to pay some of Smartmatic’s legal costs.

Dominion Voting Systems, which is also suing Giuliani for defamation, is seeking documents
for their case but has not pressed the issue of sanctions before a judge at this time. Giuliani
also faces a fourth defamation lawsuit related to the election from an executive at Dominion.

Smartmatic pointed to the Trump PAC’s payments to Trustpoint as reason that Giuliani
should be able to comply with its demands that he search his records and provide the
company evidence as it builds its case, because it’s now apparent others might pay for
Giuliani’s growing expenses.

But the former mayor said that’s not the case in his court filings on Monday.

Giuliani “cannot afford to pay at this point” another $15,000 to $23,000 for more searches for
documents in the case, his attorneys wrote.



                                                                                                  6/7
         Case 1:21-cv-03354-BAH Document 101-6 Filed 09/29/23 Page 8 of 8

This story has been updated with additional developments Wednesday.

CNN’s Paula Reid, Marshall Cohen and Kara Scannell contributed to this report.




                                                                                 7/7
